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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                  DATEFILE~rZ,tiiU 1~
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UNITED STATES OF AMERICA                        ORDER PURSUANT TO
                                                21 U.S.C. § 853(e)(1)
          - v.

MAROUN SAADE,    et al.,                        SIll Cr. III (NRB)


                      Defendants.

                                          -x

          WHEREAS, the Government has moved for an Order

authorizing the Government and its agencies to maintain custody

of the property described below pending the conclusion of the

above-referenced criminal case:

          Property seized from Alwar Pouryan:

          a.     One 14kt. yellow and white gold diamond
                 pave ringi

          b.     One IBkt. yellow gold diamond
                 ring;

          c.     One lSkt. yellow gold single diamond
                 ring;

          d.     One IBkt. yellow gold diamond and onyx
                 ring;

          e.     One 14kt. yellow gold, modified marine link
                 chain bracelet;

          f.     One 21kt. yellow gold Damascus chain necklace
                 with an IBkt. yellow gold "Kneeling KingH pendant;

          g.     One gold-plated stainless steel Roberto
                 Cavalli chronograph wristwatch;

          h.     One IBkt. yellow gold cased Longines
                 wristwatch;

          I.     One two-tone stainless steel Guess
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         wristwatch;

   j.    One stainless steel Omorfia chronograph
         wristwatch;

   k.    One stainless steel Puma wristwatch;

   1.    One yellow plated stainless steel
         Rovina wristwatch;

   m.    One stainless steel and yellow gold
         plated "Omega Constellation" wristwatch;

   n.    One 14kt. yellow gold black onyx signet
         ring;

   o.    One 14kt. white gold and onyx ring;

   p.    One 14kt. white gold squared onyx Damiani ring;

   q.    One 18kt. yellow and gold beveled Italian link
         chain with an 18kt. yellow gold filigree capped
         tiger claw pendant;

   r.    One 18 kt. white gold, Favre-Leuba
         wristwatch;

   s.    One stainless steel Rovina wristwatch;

   t.    One imitation Longines wristwatch;

   u.    One stainless steel cased Rovina
         wristwatch;

   v.    One Gucci quartz wristwatch;

   w.    One 18 kt. yellow gold "Omega
         Constellation" wristwatch;

   x.    One TX Technoluxury wristwatch;

   y.    One Vertu Ascent Ti cell phone, Type RM-267V, IMEI
         # 354101000061258;




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          Currency Seized from Alwar Pouryan and Oded Orbach

          z.        $11,250.00 in United States currency seized from
                    Alwar Pouryan;

          aa.       $1596.00 in United States c urrency seized from
                    Oded Orbach;

(collectively, the "Seized Assets");

          WHEREAS, the Seized Assets are already in the lawful

custody of the Government;

          WHEREAS, the Government has represented to the Court

that it will maintain and preserve the seized Assets throughout

the pending criminal case so that it will be available for

forfeiture;

          WHEREAS, the Seized Assets are alleged to be

forfeitable to the United States as property of individuals

engaged in Federal crimes of terrorism, to Title 18, United

States Code, Section 981(a) (1) (G) (i); and Title 28, United States

Code, Section   §    2461;

          WHEREAS, Section 853(e) (1) of Title 21, United States

Code, authorizes the Court to take any action necessary to

preserve the availability of property for forfeiture;




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             IT IS HEREBY ORDERED, that the United States and its

agencies, including the United States Drug Enforcement

Administration are authorized to maintain and preserve the Seized

Assets until the conclusion of the instant criminal case, pending

further Order of this Court,


Dated:      New York, New York
            August ~~, 2011

                                    SO ORDER D:



                                    ~~~~~~~~~.­
                                                  NAOMI REICE BUCHWALD
                                    UNITED STATES DISTRICT JUDGE
                                    SOUTHERN DISTRICT OF NEW YORK




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